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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       CRIMINAL NO. 21-CR-177 (CRC)
                                              :
                                              :
DANIEL D. EGTVEDT                             :


       DEFENDANT’S MOTION TO REVOKE ORDER OF DETENTION OF U.S.
          MAGISTRATE JUDGE AND TO MODIFY BOND CONDITIONS

        The Defendant, Mr. Daniel D. Egtvedt, by and through his attorney Kira Anne West,

files this appeal of his detention pursuant to 18 U.S.C. § 3145 (b) and respectfully requests that

he be released with certain conditions and supervision through the High Intensity Supervision

Program (HISP) with GPS monitoring by Greenbelt, Maryland Pretrial Services. Mr. Egtvedt

would also be amenable to house arrest if the Court deemed it necessary. In support of this

motion, the Defendant submits the following:

                                        BACKGROUND

       The Defendant, Mr. Egtvedt, is fifty-seven years old and a father, brother, and son. He is

a graduate of Michigan State University. Mr. Egtvedt worked successfully for twenty-two years

as a pharmaceutical salesman. He is currently retired and recently moved from Virginia to

Western Maryland to assist in caring for his 85-year-old mother who is suffering from moderate.

Alzheimer’s disease. Both Mr. Egtvedt and his brother Rick, a retired Air Force Colonel and

Lutheran minister, have taken on her caregiving. Mr. Egtvedt is also a father to Logan, who is

currently in his senior year at Virginia Commonwealth University scheduled to graduate in May.

Mr. Egtvedt’s health is affected by certain medical issues but his conditions are controlled


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through the use of medication and a BiPAP machine. Mr. Egtvedt has zero criminal history.

                                  PROCEDURAL HISTORY

       On February 13, 2021, Mr. Egtvedt was arrested in Western Maryland and charged by

criminal complaint with Knowingly Entering or Remaining in any Restricted Building or

Grounds Without Lawful Authority pursuant to 18 U.S.C. §§ 1752(a)(1), (a)(2); Violent Entry

and Disorderly Conduct on Capitol Grounds pursuant to 18 U.S.C. §§ 5104(e)(2)(D) and

(e)(2)(G); and Obstructing a Law Enforcement Officer During a Civil Disorder pursuant to 18

U.S.C. § 231(a)(3). No search warrant was done on his home because presumably there was no

danger to the community.

       At Mr. Egtvedt’s initial appearance, the Government argued for detention pursuant to 18

U.S.C. § 3142(f)(2)(B). A detention hearing was held February 23rd, 2021, wherein Mr. Egtvedt

was represented by another defense attorney and although pretrial services recommended

conditions that would assure his presence at trial and the safety of the community, the Magistrate

Judge ultimately granted the detention motion. See Ex. 1, Pretrial Services Report.

       On March 3, 2021, Mr. Egtvedt was charged by indictment with multiple counts arising

out of his alleged participation in the events that occurred at the United States Capital on January

6, 2021.

                                   STATEMENT OF FACTS

   A. Storming of the Capitol on January 6, 2021

   On January 5, 2021, Mr. Egtvedt drove by himself from Western Maryland to the District

and stayed at a hotel. The following day, Mr. Egtvedt walked to the “Save America” rally at the

Ellipse in President’s Park to listen to various speakers, including former President Donald

Trump. On January 6, 2021, Mr. Egtvedt attended the “Save America” rally where former

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President Donald Trump spoke. During his speech, President Trump encouraged attendees to

march to the Capitol to protest the Electoral College certification of the results of the 2020

Presidential Election. Mr. Egtvedt was unaware of any march on the Capital until the President

of the United States told his supporters to “ peacefully and patriotically make your voices heard”

and “we are going to the capital.” Sam Cabral, Capitol riots: Did Trump’s words at rally incite

violence?, BBC NEWS (Feb. 14, 2021), https://www.bbc.com/news/world-us-canada-55640437.

       Mr. Egtvedt was at the Ellipse to protest an election which Trump claimed had been

fraudulently stolen. He wore street clothes and carried no weapons or any items whatsoever. He

did not wear any clothing with political slogans or symbols. Following Trump’s long speech, Mr.

Egtvedt marched with the crowd to the perimeter of the Capitol. On January 6, 2021, the Capitol

was first breached at around 1:00 p.m., a full hour and forty-seven minutes before Mr. Egtvedt

allegedly arrived on the scene, not at 2:47 as the government stated in their summary FBI

affidavit signed by Magistrate Judge Faruqui. See ECF. No. 1 , ¶ 12. Laurel Wamsley, What We

Know So Far: A Timeline of Security Response At The Capitol On Jan. 6, NPR (Jan. 15, 2021,

5:00 AM), https://www.npr.org/2021/01/15/956842958/what-we-know-so-far-a-timeline-of-

security-at-the-capitol-on-january-6.

        The government claims that the defendant assaulted police officers. The person the

government claims is Mr. Egtvedt is violently assaulted by police officers, not once, but twice.

See Ex. 3, Hall of Columns MP4 (1:03)1; Ex. 4 , South door vestibule.mp4 (2:00). As Mr.

Egtvedt was pushed down by at least nine different police officers, his head ricocheted off a

marble column and he fell to the ground. He remained unconscious and motionless for several



1 Mr. Egtvedt never said to anyone “to shoot him” as described in ¶16 of the affidavit, ECF No.
1.
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seconds,2 if not minutes. When Mr. Egtvedt finally came to, he was bleeding and he asked for

medical attention, but was not offered any assistance by any person.3 The AUSA describes Mr.

Egtvedt as then being “move[d] out of the Capital building, …”. Id. at 9. In reality, Mr. Egtvedt

was picked up and tossed through the doors by two police officers as if he were a rowdy patron

being kicked out of a nightclub. Again, during all of this he is bleeding and pleading for help.

He got none. See Ex. 4. Immediately preceding this assault, in one of the videos he is seen

pointing to officers telling them “God Bless all of you.” See Ex. 5 DaCruz BWC.mp4 (0.15). 4

    B. Time Following Storming of the Capitol

       From January 6, 2021, to the date of his arrest, February 13, 2021, the defendant went

about living his life as he has the almost previous two years. On the date of his arrest, February

13, 2021, Mr. Daniel Egtvedt was distressed that his mother was getting the vaccine because his

brother Richard had agreed previously to discuss it with him. His brother Rick told the

defendant if he didn’t agree with their mother getting the vaccine, he would call the police. The

defendant pleaded with him not to give their mother the vaccine. Rick Egtvedt then called the

police. Several officers responded to the call. Officers talked to both parties, then left the

premises that day leaving Daniel Egtvedt home without filing charges or even hinting that Mr.




2
  Defense counsel cannot discern seconds vs. minutes here because although she has requested
the entirety of these videos and BWC, they have not been turned over yet by the government.
3 The little discovery defense counsel has has come in piecemeal without one complete video so
it is impossible to create a timeline of events. There are no time stamps on most of the discovery.
4
  The FBI getting the facts wrong in affidavits is nothing new. Describing what happened to
Carter Page, a revered judge of this Court stated the following: “The frequency with which
representations made by FBI personnel turned out to be unsupported or contradicted by
information in their possession, and which they withheld information detrimental to their case,
calls into question whether information contained in other FBI applications is reliable.” In re
Accuracy concerns regarding FBI matters submitted to the FISC, 411 F. Supp. 3d 333 (D.D.C.
2019)(J. Collyer). So not trusting your government is not so unusual.
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Egtved could later be charged with anything. Defendant never raised a hand or his voice. His

brother took his mother for her shot. Later that afternoon, defendant took his mother shopping as

he often did.

        Mr. Egtvedt does not have severe “mental issues” as prior defense counsel stated in her

presentation to the Magistrate Judge.5 This, unfortunately, was not fully investigated or defined

for the Magistrate Judge at the hearing6. He has not taken the vaccine for COVID-19 which

poses an additional risk to his health.

                                           ARGUMENT

   A. Pretrial Release Is Proper In This Case Because Conditions Are Available Which
      Will Reasonably Assure The Defendant’s Presence At Trial And The Safety Of The
      Community.

       The Bail Reform Act, 18 U.S.C. § 3142 et.seq., authorizes the detention of defendants

awaiting trial on a federal offense only under certain, limited circumstances. 18 U.S.C. § 3142.

Under the Act, a judicial officer may issue order that, pending trial for a federal offense, a

defendant be: (1) released on personal recognizance or upon an execution of an unsecured bond;

(2) released on a condition or combination of conditions, (3) temporarily detained; or (4)

detained. The Act mandates pretrial release on personal recognizance or unsecured bond ("shall

order the pretrial release. . . .", 18 U.S.C. § 3142(b)) unless the court determines that no

condition or combination of conditions will reasonably assure the person's appearance or the



5 If released there will be no problems getting Mr. Egtvedt back into care. If he cannot return to
treatment within several weeks, by policy he will have to be discharged according to the WVU
Health and Wellness Behavioral Center in Oakland, MD. A discharge will result in a greater
delay in placing him back into subsequent treatment.

6 The government also claims that there was discussion at the home between defendant’s brother
Richard Egtvedt and the police about involuntarily committing the defendant. This is patently
false.
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safety of any other person and the community. 18 U.S.C. § 3142(e). When personal recognizance

or an unsecured bond is determined to be inadequate to guarantee appearance or safety, the Act

still mandates release ("shall order the pretrial release. . . .", 18 U.S.C. § 3142(c)) subject to

specified conditions. The conditions must be the least restrictive conditions necessary to

reasonably assure the defendant's appearance and the community's safety. United States v.

Fortna, 769 F.2d 243 (5th Cir. 1985), cert. denied, 479 U.S. 950 (1986).

        1. The Bail Reform Act

        The Act provides that if the Court finds by clear and convincing evidence that “no

condition or combination of conditions will reasonably assure the appearance of the person as

required and the safety of any other person and the community, such judicial officer shall order

detention of the person before trial.” 18 U.S.C. §§ 3142(e)(1), (f)(2)(g). However, there is a

strong presumption against detention. See United States v. Hassanshahi, 989 F. Supp. 2d 110,

113 (D.D.C. 2013) (citing United States v. Hanson, 613 F. Supp. 2d 85, 87 (D.D.C. 2009);

United States v. Salerno, 481 U.S. 739, 755 (1987) (“[i]n our society liberty is the norm, and

detention prior to trial or without trial is the carefully limited exception.”). Courts have held that

a finding that defendant is a danger to the community or a serious flight risk is a basis of

detention. See United States v. Anderson, 177 F. Supp. 3d 458, 461 (D.D.C. 2016) (citing United

States v. Salerno, 481 U.S. 739, 755 (1987). The finding must be based on clear and convincing

evidence that the defendant poses a danger to the community or a preponderance of the evidence

to support the defendant’s likelihood to flee. See id.; see also United States v. Xulam, 318 U.S.

App. D.C. 1, 84 F.3d 441, 442 (1996) (citing United States v. Simpkins, 826 F.2d 94, 96 (D.C.

Cir. 1987)).

    Congress enacted the Bail Reform Act of 1984 to give courts the authority to consider factors

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such as the likelihood of flight and community safety in making release determinations. In

passing the Act, Congress did not intend to authorize the wholesale pretrial incarceration of all

persons accused of criminal offenses. Indeed, the Act expressly provides that "[n]othing in this

section shall be construed as modifying or limiting the presumption of innocence." 18 U.S. Code

§ 3142(j). To the contrary, the passage of the pretrial detention provision of the 1984 Act

bespeaks a recognition that "there is a small but identifiable group of particularly dangerous

[persons] as to whom neither the imposition of stringent release conditions nor the prospect of

revocation of release can reasonably assure the safety of the community or other persons. It is

with respect to this limited group ... that the courts must be given the power to deny release

pending trial." S. Rep. No. 225, 98th Cong., 1st Sess. 6-7, reprinted in U.S. Code Cong. & Ad.

News 3189 (emphasis supplied).

    The legislative history of the Act also stresses that '[t]he decision to provide for pretrial

detention is in no way a derogation of the importance of the [accused's] interest in remaining at

liberty prior to trial. It is anticipated that [pretrial release] will continue to be appropriate for the

majority of federal defendants." Id. at 7, 12, reprinted in, 1984 U.S. Code Cong. & Ad. News

3189. Courts have recognized that, consistent with the intent expressed in the 1984 Act's

legislative history, the statutory scheme of Section 3142 continues to favor release over pretrial

detention. See, United States v. Orta, 760 F.2d 887, 890-892 (8th Cir. 1985); United States v.

Miller, 625 F. Supp. 513, 516-17 (D.Kan. 1985).

    Notwithstanding the charges at issue, Mr. Egtvedt should not be considered to be within that

limited group for whom pretrial detention is appropriate. It is apparent from the Act's legislative

history, as well as the statutorily mandated consideration of the least restrictive alternatives to

detention, that Congress contemplated pretrial detention of only a small percentage of the

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individuals awaiting trial. Mr. Egtvedt is among that majority for whom a combination of

conditions short of detention without bond can be fashioned to "reasonably assure" the safety of

the community and his appearance for trial. United States v. Orta, 760 F.2d 887 (8th Cir. 1985);

see also 18 U.S.C. §3142(c)(1)(B) (judicial officer shall order the pretrial release of an accused

"subject to the least restrictive further condition or combination of conditions, that such judicial

officer shall determines will reasonably assure the appearance of the person as required and the

safety of any other person and the community") (emphasis supplied)). In the instant case

Defendant’s continued detention without bond is not the least restrictive alternative case; there

are conditions available that will assure the community's safety and his return for future court

dates. See U.S. v. Xulam, 84 F.3d 441 (D.C. Cir. 1996) (holding that the pretrial detention

provisions of the 1984 Bail Reform Act were not intended to apply to “first-time offender

accused of a nonviolent crime with strong community ties and respected members of that

community willing to supervise his release”).

   Title 18 U.S.C. Section 3142(e) provides for pretrial detention if the government is able to

show that no condition of release will reasonably assure the accused's appearance as required and

the safety of any other person or the community. See, United States v. Salerno, 481 U.S. 739,

741 (1987). Here there are conditions available which will reasonably assure the defendant’s

presence and safety of the community. There is no reason to believe that a person with no prior

record of criminal activity, violence, or flight, who is currently retired and serving as caretaker

for his 85-year-old mother suffering from Alzheimer’s disease, must be preventively detained

because his release poses an unreasonable risk of flight or danger to the community.

       2. Considerations by the Court



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       To determine whether the conditions of release will reasonably assure a defendant’s

future presence in court, the following factors are considered: “(1) the nature and circumstances

of the offense charged… (2) the weight of the evidence against the person; (3) the history and

characteristics of the person… (4) the nature and seriousness of the danger to any person or the

community that would be posed by the person’s release.” 18 U.S.C. § 3142(g)(1)-(4).7 Mr.

Egtvedt submits that when considering these four factors, the order of detention should be

vacated and this Court should set conditions of release in this case. There are several factors in

the instant case which demonstrates there are conditions of release that would both guarantee Mr.

Egtvedt’s appearance and assure the safety of the community.

    A. The nature and circumstances of the offense charged….

        This Court must consider the seriousness of the offense. See 18 U.S.C. § 3142(g)(1).

Because of the unique nature of the alleged crime, the particular conduct of each defendant for

purposes of pretrial detention is considered under many factors. See, e.g., Chrestman, 2021 WL

765662, at *7–9. Those factors include whether a defendant (1) has been charged with felony or

misdemeanor offenses; (2) engaged in prior planning before arriving at the Capitol; (3) carried or

used a dangerous weapon during the riot; (4) coordinated with other participants before, during,

or after the riot; or (5) assumed a formal or informal leadership role in the assault by encouraging

other rioters’ misconduct; and (6) the nature of the defendant’s words and movements during the


7
  18 U.S.C. § 3145(b) does not specify the standard of review to be applied by a district court
reviewing a magistrate judge’s detention order, and “the D.C. Circuit has not yet addressed the
issue.” United States v. Hunt, 240 F. Supp. 3d 128, 132–33 (D.D.C. 2017). That said, both the
BRA and the Federal Magistrates Act, 28 U.S.C. § 636, support the conclusion, reached by every
circuit to have considered the question, that a district court reviews a magistrate judge’s release
or detention order de novo. See United States v. Chrestman, 21-mj-218 (BAH), 2021 WL
765662, at *5–6 (D.D.C. Feb. 26, 2021). And courts in this District routinely apply that standard.
See id. at *6; Hunt, 240 F. Supp. 3d at 132–33.

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riot, including whether the defendant damaged federal property, threatened or confronted law

enforcement, or celebrated efforts to disrupt the certification of the Electoral College vote. Id.

Here, those circumstances weigh in favor of release. Mr. Egtvedt has not been identified in any

of the videotapes or photographs. Assuming the government can identify him, Mr. Egtvedt

never caused any damage to the Capitol area and never committed any act of violence. Although

Mr. Egtvedt is charged with both misdemeanors and felonies, at no time did Mr. Egtvedt use

violence against anyone.8 On the contrary, he himself was assaulted by the police, not once, but

twice. He was bleeding and requested medical help and received none from any officer. He is

also seen on videos telling the officers that they were “heroes.” See Ex. 5. He is charged

primarily with offenses that relate to being on restricted Capitol grounds. These are non-violent

offenses and the video sequences show his actions to be non-violent. Importantly, he went to the

Capitol by himself, had no leadership role, did not engage in prior planning, was not part of any

conspiracy, did not coordinate with anyone, and was not aligned with any group before or after

January 6, 2021. Unlike others, he did not have a weapon, handcuffs, flex cuffs, or any other

type of object that could be used against another person. He simply went to hear the speeches

and exercise his constitutional right to protest. He never encouraged misconduct by others, but

encouraged them to come protest. He never damaged federal property, never threatened law

enforcement and had nothing to say about the Electoral College. What the video exhibits show




8
 The Bail Reform Act defines “crime of violence” as (A) “an offense that has as an element of
the offense the use, attempted use, or threatened use of physical force against the person or
property of another, “ (B) “any other offense that is a felony and that, by its nature, involves a
substantial risk that physical force against the person or property of another may be used in the
course of committing the offense,” or (C) “any felony under chapter 77, 109A, 110, or 117.” 18
U.S.C. § 3156(a)(4).
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is that the proffer by the government at the detention hearing and the affidavit in support of the

complaint and arrest of Mr. Egtvedt are full of misrepresentations.

   B. The Weight Of The Evidence Against The Person

     The evidence is not as the government has alleged against Mr. Egtvedt. So far, what the

government has provided to the Court regarding January 6, 2021 are still shots taken from

various videos. They are taken out of context. When this Court watches the approximately ten

minutes of video footage provided by the defense, the Court will see that the police actually

assaulted Mr. Egtvedt and that he was peaceful. No police officer came to his aid although he

was on the floor unconscious and bleeding. In fact, the video depicts a lack of concern or

empathy by any law enforcement officer. Other than perhaps a common law trespass, the other

charges will not hold up at trial. Unlike others, he neither took anything from any desk, went

into an office, nor did he damage any part of the Capitol. The weight of the evidence leans in

favor of release.

       At his detention hearing, the Government stated that Mr. Egtvedt was part of a “violent

mob” as well as a part of the “initial wave...overwhelming law enforcement.” See Ex. 2,

Transcript of detention hearing, Transc. @ p. 5. On the contrary, there is no evidence that Mr.

Egtvedt was part of a violent mob. Rather, he found himself surrounded by thousands of people

protesting and at that time, he still believed he was engaged in a peaceful protest. Mr. Egtvedt

has not yet been identified and the arguments put forth here are not a waiver of his identification.

         Contrary to the FBI affidavit, no officers are seen injured in any of the videos9 (finally

given to defense counsel after numerous requests on March 17, 2021) wherein the government



9 The video exhibits will be filed under seal until the Court grants the new protective order which
should be filed within a couple of days of the filing of this motion.
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claims to identify Mr. Egtvedt. Furthermore, there is no video evidence that the Hall of Columns

was being used to escort people out of the capitol.

       The facts as described by the government at the detention hearing regarding the vaccine

situation in Garrett County are much different than what police reports indicate. Daniel Egtvedt

was left at home on February 13, 2021, by police after the disturbance call by his brother. Later

that afternoon, he took his mother shopping after she returned home from getting her vaccine. If

his brother Richard believed him to be a danger, he would never have allowed that. Rick told

defendant that he would call the police about their disagreement regarding his mother’s vaccine

and he did. Defendant was not “unruly and so physically preventing the family member from

taking that elderly family member to the Covid vaccination….” as the AUSA described. Ex. 2

@ p. 12. No police report from that day describes him as unruly or states that he “physically”

prevented anyone from going anywhere. Reports and notes from all officers on the scene of his

arrest regarding the vaccine incident with his mother say nothing of physical acts or violence—

only that they were talking calmly to Mr. Egtvedt. The Government’s argument that Mr.

Egtvedt tried to alter his appearance because he “grew a beard” is unfounded. Ex. 2 @ p. 15.

Half of the men in America have grown beards during the last year in response to the pandemic.

It is also patently false that Mr. Egtvedt didn’t before drive his deceased father’s vehicle. It was

the farm vehicle and he was moving his things back and forth. Unfortunately, these issues were

not subject to cross-examination because the government was allowed to proffer their entire case.

Here the government omits facts critical to understanding what really went on that day. Instead

of doing an investigation, it reaches for unsupported allegations and conclusions.

   C. History And Characteristics Of The Person, Including…The Person’s Character, Physical
   And Mental Condition, Family Ties, Employment, Financial Resources, Length Of Residence
   In The Community, Community Ties, Past Conduct, History Relating To Drug Or Alcohol

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   Abuse, Criminal History And Record Concerning Appearance At Court Proceedings.

   These facts heavily favor release. He has no criminal history. After January 6, Mr. Egtvedt

stayed in the area of his home and took his mother shopping even after being questioned by law

enforcement earlier on the day of his arrest. His behavior between January 6, 2021 and February

13, 2021 did not change. His actions do not indicate an intent to flee or any danger. There is

nothing in his history nor in the history of his actions in this case that show an inclination to flee

or towards danger to the community. He has never abused drugs or alcohol. He has sufficient

financial resources. The Government introduced the fact that Mr. Egtvedt was driving the “farm”

vehicle and didn’t shave against him, claiming that he did so as an attempt to hide his identity.

This is preposterous. Mr. Egtvedt often doesn’t shave and drove the farm vehicle frequently, and

at this time to move items back and forth from his home to the farm. Again, these facts were not

properly developed. The government has couched this behavior as a one-time action, which is

false. Virtually all of Mr. Egtvedt’s familial, professional, and social ties are in the area of

Western Maryland where he currently resides. He lived in Virginia until two years ago when he

sold his home and retired. Since his ties to the community are substantial, there is no reason to

think that he would flee or not return to court when given notice to do so.

    Notwithstanding that others find the Defendant’s beliefs to be irrationally based, it is clear

that the he was not acting out of criminal intent. In the heat of the moment, after you’ve likely

suffered a concussion, you may forgo reason and listen to those around you. It is easy to

substitute passion for reason. Many people can’t abstractly reason in different circumstances and

this situation is no exception. When people cannot apply reason to a concept, they stop

reasoning. People do this all the time: you can give them a reasoning process, and especially if

they are suffering from a head injury, they can’t apply it rationally. See John Locke, An Essay

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Concerning Human Understanding (1690).

   D. The Nature And Seriousness Of The Danger To Any Person Or The Community That
   Would Be Posed By The Person’s Release.

       Again, Mr. Egtvedt is a nonviolent person and this does not apply.

   B. The Defendant Should Be Released Because The Proffer Made By The Government
      At The Pretrial Detention Hearing Was Not Based On Facts.

   Although the rules allow the Government to proceed by proffer in a detention hearing, the

statements made by the Government are patently false and assume facts not in evidence. Mr.

Egtvedt is innocent until proven guilty, but the government has painted every person arrested in

the January 6, 2021 storming of the capital as a domestic terrorist which is not only incorrect, but

unconstitutional. Mr. Egtvedt absolutely denies being part of a “violent attempted overthrow of

the U.S. Government” or that “he, himself, was trying to bring about an overthrow of the

government.” Ex. 2 @ p. 3. This is patently false. There is absolutely no evidence that Mr.

Egtvedt was associated in any way with anyone at the Capitol, let alone any information that

before that day he planned any type of overthrow or violence. This averment by the government

is absurd. In fact, Mr. Egtvedt was himself assaulted not once, but twice by the police. Mr.

Egtvedt never assaulted any police officers. Mr. Egtvedt never caused any injury to any officer.

This is clearly shown in the videos. See Exhibit 3, Capitol Hall of Columns Video.

   C. Conclusion

   Mr. Egtvedt sought no personal or pecuniary gain from his actions. Rather, he acted out of

the sincere belief that he was a “patriot” protesting for his country. Like thousands of others, Mr.

Egtvedt was responding to the entreaties of the then Commander-in-Chief, former President

Donald Trump. The President maintained that the election had been stolen and it was the duty of

loyal citizens to “stop the steal.” Defendant did not act out of criminal intent but out of sense of

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conscience. His solitary action in this case, measured against his history of being a law-abiding

citizen for the last 57 years, safely predicts that he is more likely to resume behaving as a law

abiding citizen if released pending trial. His history does not suggest that he is likely to resume

the type of alleged behavior that brings him before this Court. Notwithstanding that Mr. Egtvedt

has been indicted he is still presumed innocent. His ability to prepare a defense will be hampered

by his pretrial incarceration and currently it is nearly impossible to speak to Mr. Egvedt more

than once a week because the jail staff are overwhelmed with requests for video calls. Reviewing

the evidence alongside a client during the COVID-19 pandemic is a near impossibility because

undersigned counsel cannot travel to the jail and because of the protective order in place.

   WHEREFORE for the foregoing reasons, and any others which may appear at a full hearing

on this matter, and any others this Court deems just and proper, Defendant through counsel,

respectfully requests that he be released on personal recognizance. If that request is denied

Defendant requests as an alternative that he be released on Third Party Custody and placed into

the High Intensive Supervision Program of the Pretrial Services Agency conditioned on

reasonable conditions.

                                              Respectfully submitted,

                                              KIRA ANNE WEST



                                       By:               /s/

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                                 CERTIFICATE OF SERVICE

         I hereby certify on the 24th day of March, 2021, a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                          /S/

                                                     Kira Anne West




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